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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA Case No: 17-cr-20465
V. Hon. Denise Page Hood

D-1 MASHTYAT RASHID VIO: 18 U.S.C. § 1349
D-3 SPILIOS PAPPAS 18 U.S.C. § 1347
D-5 JOSEPH BETRO 18 U.S.C. § 371
D-6 TARIQ OMAR 42 U.S.C. § 1320a-
D-7 MOHAMMED ZAHOOR 7b(b)(2)(A)-(B)

18 U.S.C. § 1957

18 U.S.C. § 2

Defendants.
/
SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

General Allegations

At all times relevant to this Superseding Indictment:

The Medicare Program

1. The Medicare program was a federal health care program providing
benefits to persons who were over the age of 65 or disabled. Medicare was
administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal
agency under the United States Department of Health and Human Services.

Individuals who received benefits under Medicare were referred to as Medicare

“beneficiaries.”

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2. Medicare was a “health care benefit program,” as defined by Title 18,
United States Code, Section 24(b).

3. Medicare has four parts: hospital insurance (Part A), medical insurance
(Part B), Medicare Advantage (Part C), and prescription drug benefits (Part D).

4. Specifically, Part A of the Medicare program covered inpatient hospital
services, home health and hospice care, and skilled nursing and rehabilitation.

5. Part B of the Medicare program covered the cost of physicians’
services, medical equipment and supplies, and diagnostic laboratory services.
Specifically, Part B covered medically necessary physician office services,
outpatient physical therapy services, nerve conduction testing, ultrasounds, and
nerve block injections, including facet joint injections. Part B also covered services
that were provided in connection with a laboratory testing facility, including urine
drug testing.

6. National Government Services (“NGS”) administered the Medicare
Part A program for claims arising in the State of Michigan. Wisconsin Physicians
Service (“WPS”) administered the Medicare Part B program for claims arising in the
State of Michigan. CGS Administrators LLC (“CGS”) administered the Medicare
Part B program for claims arising in the State of Ohio. CMS contracted with NGS
to receive, adjudicate, process, and pay Part A claims. CMS contracted with WPS

and CGS to receive, adjudicate, process, and pay certain Part B claims, including
   

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medical services related to physician office services, outpatient physical therapy
services, and nerve block injections, including facet joint injections, as well as
services that were provided in connection with a laboratory testing facility, including
urine drug testing.

7.  TrustSolutions LLC was the Program Safeguard Contractor for
Medicare Part A and Part B in the State of Michigan until April 24, 2012, when it
was replaced by Cahaba Safeguard Administrators LLC as the Zone Program
Integrity Contractor (“ZPIC”). Cahaba was replaced by AdvancedMed in May
2015.

8. The Program Safeguard Contractor or ZPIC is a contractor that
investigates fraud, waste, and abuse. As part of an investigation, the Program
Safeguard Contractor or ZPIC may conduct a clinical review of medical records to
ensure that payment is made only for services that meet all Medicare coverage and
medical necessity requirements.

9. Payments under the Medicare program were often made directly to a
provider of the goods or services, rather than to a Medicare beneficiary. This
payment occurred when the provider submitted the claim to Medicare for payment,
either directly or through a billing company.

10. Upon certification, the medical provider, whether a clinic, physician, or

other health care provider that provided services to Medicare beneficiaries, was able
   

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to apply for a Medicare Provider Identification Number (“PIN”) for billing purposes.
In its enrollment application, a provider was required to disclose to Medicare any
person or company who held an ownership interest of 5% or more or who had
managing control of the provider. A health care provider who was assigned a
Medicare PIN and provided services to beneficiaries was able to submit claims for
reimbursement to the Medicare contractor/carrier that included the PIN assigned to
that medical provider.

11. A Medicare claim was required to set forth, among other things, the
beneficiary’s name, the date the services were provided, the cost of the services, and
the name and identification number of the physician or other health care provider
who had ordered the services. When an individual medical provider was associated
with a clinic and medically necessary services were provided at that clinic’s location,
Medicare Part B required that the individual provider numbers associated with the
clinic be placed on the claim submitted to the Medicare contractor.

12. By becoming a participating provider in Medicare, enrolled providers
agreed to abide by the policies and procedures, rules, and regulations governing
reimbursement. To receive Medicare funds, enrolled providers, together with their
authorized agents, employees, and contractors, were required to abide by all
provisions of the Social Security Act, the regulations promulgated under the Act,

and applicable policies, procedures, rules, and regulations issued by CMS and its
   

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authorized agents and contractors. Health care providers were given and provided
with online access to Medicare manuals and services bulletins describing proper
billing procedures and billing rules and regulations.

13. Health care providers could only submit claims to Medicare for
reasonable and medically necessary services that they rendered. Medicare would
not pay claims procured through kickbacks and bribes.

14. Medicare regulations required health care providers enrolled with
Medicare to maintain complete and accurate patient medical records reflecting the
medical assessment and diagnoses of their patients, as well as records documenting
actual treatment of the patients to whom services were provided and for whom
claims for payment were submitted by the physician. Medicare requires complete
and accurate patient medical records so that Medicare may verify that the services
were provided as described on the claim form. These records were required to be
sufficient to permit Medicare, through WPS and other contractors, to review the
appropriateness of Medicare payments made to the health care provider.

15. Under Medicare Part B, physician office visit services, outpatient
physical therapy services, nerve conduction, and nerve block injections, including
facet joint injections, were required to be reasonable and medically necessary for the
treatment or diagnosis of the patient’s illness or injury. Individuals providing these

services were required to have the appropriate training, qualifications, and licenses
   

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to provide such services. Providers were required to: (1) document the medical
necessity of these services; (2) document the date the service was performed; (3)
identify the provider who performed the service; and (4) identify the clinic,
physician office, or group practice where the provider provided the service.

Providers conveyed this information to Medicare by submitting claims using billing

codes and modifiers. To be reimbursed from Medicare for physician office visit

services, outpatient physical therapy services, nerve conduction, and nerve block
injections, including facet joint injections, the services had to be reasonable,
medically necessary, documented, and actually provided as represented to Medicare.
Providers were required to maintain patient records to verify that the services were
provided as represented on the claim form to Medicare. When an individual medical
provider was associated with a clinic, Medicare Part B required that the individual
provider number associated with the clinic be placed on the claim submitted to the
Medicare contractor.

16. Under Medicare Part B, for a laboratory to properly bill and be paid by
Medicare for laboratory testing, including urine drug testing, the patient must,
among other things, qualify for the testing, including urine drug testing, under
Medicare’s established rules and regulations. The testing also must be rendered
according to Medicare’s rules and regulations, and certain documents must be

completed before a claim is submitted for reimbursement to Medicare.
   

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17. Fora laboratory to properly bill and be paid by Medicare for urine drug
testing, the urine drug testing must be both reasonable and medically necessary.
Urine screenings can be “qualitative” and used to determine the presence or absence
of substances, or the screenings can be “quantitative” and used to provide a
numerical concentration of a substance. Medicare limits the allowed purposes of
quantitative screenings. One such accepted purpose would be if a patient tested
negative for a prescribed medication during a qualitative screening, but the patient
insisted s/he was taking the medication. A laboratory may then perform a
quantitative screening to evaluate or confirm the findings of the qualitative testing.
The same is true if a patient tested positive for a non-prescribed medication/drug
during qualitative testing which s/he insisted had not been used. However, regular,
routine, or recreational drug screenings, however, are not reasonable or medically
necessary. Further, the patient’s medical record must include documentation that
fully supports the reasonableness of and medical necessity for the urine drug testing.

18. Under Medicare Part A and Part B, home health care services were
required to be reasonable and medically necessary to the treatment of the patient’s
illness or injury. Reimbursement for home health care services required that a
physician certified the need for services and established a Plan of Care. Home health
care services that were not certified by a physician or were not provided as

represented were not reasonable and necessary. Medicare Part B covered the costs
   

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of physicians’ services, including physician home visits, physician certification and
recertification of home health care services, and physician supervision of home
health care services. Generally, Medicare Part B covered these costs only if; among
other requirements, they were medically necessary, ordered by a physician, and not
induced by the payment of remuneration.

19. Medicare coverage for home health care services required that the
following qualifying conditions, among others, be met: (a) the Medicare beneficiary
is confined to the home; (b) the beneficiary needs skilled nursing services, physical
therapy, or occupational therapy; (c) the beneficiary is under the care of a qualified
physician who established a written Plan of Care for the beneficiary, signed by the
physician and by a Registered Nurse (“RN”), or by a qualified physical therapist if
only therapy services are required from the home health agency; (d) skilled nursing
services or physical therapy services are provided by, or under the supervision of, a
licensed RN or physical therapist in accordance with the Plan of Care; and (e) the
services provided are medically necessary.

20. To receive reimbursement for a covered service from Medicare, a
provider must submit a claim, either electronically or using a form (e.g., a CMS-
1500 form or UB-92), containing the required information appropriately identifying

the provider, patient, and services rendered, among other things.
   

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The Tri-County Network Physician Businesses

21. Global Quality Inc. (“Global Quality”) was a Michigan corporation
doing business at 3800 Woodward Ave., Ste. 1100, Detroit, Michigan. Global
Quality was enrolled as a participating provider with Medicare and submitted claims
to Medicare.

22. Aqua Therapy and Pain Management, Inc. (“Aqua Therapy”) was a
Michigan corporation doing business at 3011 West Grand Blvd., Ste. 305, Detroit,
Michigan. Aqua Therapy was enrolled as a participating provider with Medicare
and submitted claims to Medicare.

23. Tri-County Physician Group, P.C. (“Tri-County Physicians”) was a
Michigan corporation doing business at 3800 Woodward Ave., Ste. 1100, Detroit,
Michigan, 3011 West Grand Blvd., Ste. 305 & 307, Detroit, Michigan, and 24001
Orchard Lake Rd., Ste. 140A, Farmington, Michigan. Tri-County Physicians was
enrolled as a participating provider with Medicare and submitted claims to Medicare.

24. Tri-State Physician Group, P.C. (“Tri-State Physicians”) was a
Michigan corporation doing business at 3011 West Grand Blvd., Ste. 306, Detroit,
Michigan, 24001 Orchard Lake Rd., Ste. 140A, Farmington, Michigan, and 2100 W.
Alexis Rd., Ste. B3, Toledo, Ohio. Tri-State Physicians was enrolled as a

participating provider with Medicare and submitted claims to Medicare.

 
 
 

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25. New Center Medical, P.C. (“New Center Medical”) was a Michigan
corporation doing business at 3011 West Grand Blvd., Ste. 308, Detroit, Michigan.
New Center Medical was enrolled as a participating provider with Medicare and
submitted claims to Medicare.

The Tri-County Network Laboratories

26. National Laboratories, Inc. (“National Laboratories”) was a Michigan
corporation doing business at 3011 West Grand Blvd., Ste. 310, Detroit, Michigan
and 2100 West Alexis Rd., Ste. B-1, Toledo, Ohio. National Laboratories was
enrolled as a participating provider with Medicare and submitted claims to Medicare.

27. Nat Lab, Inc. (“Nat Lab”) was a Michigan corporation doing business
at 3011 West Grand Blvd., Ste. 309, Detroit, Michigan and 2100 West Alexis Rd.,
Ste. B-2, Toledo, Ohio. Nat Lab was enrolled as a participating provider with
Medicare and submitted claims to Medicare.

The Tri-County Network Massage Therapy and Healthcare Management
Company

28. Tri-County Wellness, Inc. (“Tri-County Wellness”) was a Michigan
corporation doing business at 3031 W. Grand Blvd., Ste. 506, Detroit, Michigan and
900 Wilshire Dr., Ste. 202, Troy, Michigan.

Defendants and Other Entities and Individuals
29. Defendant MASHIYAT RASHID, a resident of Oakland County, was

the CEO of Tri-County Wellness and controlled, owned, or operated Global Quality,
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Aqua Therapy, Tri-County Physicians, Tri-State Physicians, New Center Medical,
National Laboratories, Nat Lab, collectively referred to as the Tri-County Network.
30. Defendant SPILIOS PAPPAS, a resident of Lucas County, Ohio, was
a physician licensed in the State of Michigan who was enrolled as a participating
provider with Medicare for Tri-County Physicians and Tri-State Physicians.

31. Defendant TARIQ OMAR, a resident of Oakland County, was a
physician licensed in the State of Michigan who was enrolled as a participating
provider with Medicare for Tri-County Physicians.

32. Defendant MOHAMMED ZAHOOR, a resident of Oakland County,
was a physician licensed in the State of Michigan who was enrolled as a participating
| provider with Medicare for Tri-County Physicians and Tri-State Physicians. |
33. Defendant JOSEPH BETRO, a resident of Oakland County, was a

physician licensed in the State of Michigan who was enrolled as a participating

provider with Medicare for Tri-County Physicians and New Center Medical.

34. Yasser Mozeb, a resident of Oakland County, was the office manager
of various companies owned or controlled by MASHIYAT RASHID.

35. Abdul Haq, a resident of Washtenaw County, was a physician licensed
in the State of Michigan who was enrolled as a participating provider with Medicare

for Aqua Therapy, Tri-County. Physicians and Tri-State Physicians.

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36. US Home Health Care Inc. (“US Home”), Senior Link Home Care, Inc.
(“Senior Link Home Care”), and Vitality Home Care, Inc. (“Vitality Home Care”),
were home health companies in Wayne and Oakland Counties that were enrolled as
participating providers with Medicare.

37. Pro Med Management, Inc. (“Pro Med”), was a management company
in Wayne County.

38. Tasadaq Ali Ahmad, a resident of Oakland County, controlled, owned,
or operated US Home and Pro Med.

COUNT 1
(18 U.S.C. § 1349—Conspiracy to Commit Health Care Fraud and Wire
Fraud)
D-1 MASHTYAT RASHID
D-3 SPILIOS PAPPAS, MD
D-5 JOSEPH BETRO, DO
D-6 TARIQ OMAR, MD
D-7 MOHAMMED ZAHOOR, MD

39. Paragraphs 1 through 38 of the General Allegations section of this
Superseding Indictment are re-alleged and incorporated by reference as though fully
set forth herein.

40. From in or around December 2008, and continuing through in or around
the Present, the exact dates being unknown to the Grand Jury, in Wayne County, the
Eastern District of Michigan, and elsewhere, the defendants, MASHIYAT
RASHID, SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR, and

MOHAMMED ZAHOOR, did willfully and knowingly, combine, conspire,
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confederate, and agree with each other, and others known and unknown to the Grand
Jury, to commit certain offenses against the United States, namely:

(a) to knowingly and willfully execute a scheme and artifice to defraud a
health care benefit program affecting commerce, as defined in Title 18, United States
Code, Section 24(b), that is, Medicare, and to obtain, by means of materially false
and fraudulent pretenses, representations, and promises, money and property owned
by, and under the custody and control of, said health care benefit program, in
connection with the delivery of and payment for health care benefits, items, and
services, in violation of Title 18, United States Code, Section 1347; and

(b) to knowingly and with the intent to defraud devise and intend to devise
a scheme and artifice to defraud, and for obtaining money and property by means of
materially false and fraudulent pretenses, representations, and promises, knowing
that the pretenses, representations, and promises were false and fraudulent when
made, and knowingly transmit and cause to be transmitted, by means of wire
communication in interstate commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, in violation of Title 18, United

States Code, Section 1343.

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Purpose of the Conspiracy

41. It was a purpose of the conspiracy for defendants MASHIYAT
RASHID, SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR, and
MOHAMMED ZAHOOR, along with Yasser Mozeb, Abdul Haq, and other co-
conspirators to unlawfully enrich themselves by, among other things: (a) submitting
or causing the submission of false and fraudulent claims to Medicare for claims
based on kickbacks and bribes; (b) submitting or causing the submission of false and
fraudulent claims to Medicare for services that were (i) medically unnecessary; (ii)
not eligible for Medicare reimbursement; and/or (iii) not provided as represented;
(c) concealing the submission of false and fraudulent claims to Medicare and the
receipt and transfer of the proceeds from the fraud; and (d) diverting proceeds of the
fraud for the personal use and benefit of the defendants and their co-conspirators.

Manner and Means

The manner and means by which the defendants and their co-conspirators
sought to accomplish the purpose of the conspiracy included, among others, the
following:

42. MASHIYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, and others falsely certified to
Medicare that they, and/or each group clinic or practice in the Tri-County Network

that they certified on behalf of, would comply with all Medicare rules and

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regulations, and federal laws, including that they would not knowingly present or
cause to be presented a false and fraudulent claim for payment by Medicare and that
they would refrain from violating the federal Anti-Kickback statute.

43. MASHIYAT RASHID and his coconspirators obtained access to
thousands of Medicare beneficiaries through the following unlawful practices:

a. SPILIOS PAPPAS, TARIQ OMAR, JOSEPH BETRO,
MOHAMMED ZAHOOR, Abdul Hag, and others would prescribe in excess of 4.2
million dosage units of controlled substances, including medically unnecessary
prescriptions for Oxycodone, Hydrocodone, and Oxymorphone, to Tri-County
Network beneficiaries, some of whom were addicted to opioids. Some of these
medically unnecessary opioids were resold on the street.

b. MASHIYAT RASHID and others paid or caused the payment
of illegal kickbacks and bribes to (i) Medicare beneficiaries; and (ii) recruiters,
physicians, and others to refer Medicare beneficiaries to, or order testing by, the Tri-
County Network.

44. MASHIYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, Yasser Mozeb, Abdul Haq, and
others would require vulnerable Medicare beneficiaries, including those addicted to
opioids, to submit to expensive injections before prescribing opioids and other

controlled substances, even though the injections were medically unnecessary,

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sometimes painful, not eligible for Medicare reimbursement, and/or not provided as
represented.

45. MASHIYAT RASHID sought to “make $$ on volume” or “max out”
reimbursement for injections and other services or testing, regardless of medical
necessity; paid or caused payments to be made to SPILIOS PAPPAS, JOSEPH
BETRO, TARIQ OMAR, MOHAMMED ZAHOOR, Abdul Hag, and others
based on the volume and value of certain services that each billed or caused to be
billed by the Tri-County Network; and SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, Abdul Hag, and others would
conduct repetitive and unnecessary injections, including administering dozens of
injections on numerous individual beneficiaries in a single year, and submit or cause
the submission of other false and fraudulent claims to Medicare in order to increase
revenue for MASHIYAT RASHID, themselves, and their co-conspirators.

46. MASHIYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, Yasser Mozeb, Abdul Hag, and
others (a) referred or caused the referral of Medicare beneficiaries for home health
and other services to providers specified by MASHIYAT RASHID and/or (b)
arranged for, ordered, or caused the arranging for or ordering of urine drug testing,

ultrasounds, nerve conduction, MRI’s, and other testing by providers specified by

MASHIYAT RASHID, which were procured by the payment of kickbacks and

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bribes, medically unnecessary, not eligible for Medicare reimbursement, and/or not
provided as represented.

47, MASHIYAT RASHID and others solicited illegal kickbacks and
bribes from US Home, Vitality, Senior Link, Laboratory 1, and other providers for
SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR, MOHAMMED
ZAHOOR, Abdul Haq, and others to cause the referrals and/or ordering of testing
described above in Paragraph 46.

48. MASHIYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, Yasser Mozeb, Abdul Haq, and
others, falsified, fabricated, altered, and caused the falsification, fabrication, and
alteration of medical records, including patient files, home health certifications,
treatment plans, diagnostic testing orders, and other records, including provider
questionnaires and other responses to Medicare reviews of claims for services and
testing, all to support claims for office visits, injections, home health services, urine
drug testing, diagnostic testing, nerve conduction studies, ultrasounds, MRI’s, and
other services that were obtained through illegal kickbacks and bribes, medically
unnecessary, not eligible for Medicare reimbursement, and/or not provided as
represented.

49. MASHIYAT RASHID, SPILIOS PAPPAS, Abdul Haq, and others,

through the use of interstate wires, concealed MASHIYAT RASHID’s illegal

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ownership of the Tri-County Network Physician Companies and involvement in the
scheme by submitting or causing the submission of false and fraudulent enrollment
materials to Medicare that failed to disclose the ownership interest and/or managing
control of MASHIYAT RASHID.

50. MASHIYAT RASHID, SPILIOS PAPPAS, Abdu! Hag, and others
disguised MASHIYAT RASHID’s ownership interest and/or control over these
provider numbers by, among other things, entering into sham agreements and
making misrepresentations and omissions in the enrollment applications and claims
submitted to Medicare.

51. MASHTYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, and others facilitated and concealed
the scheme, and obstructed investigations, enrollment suspensions, and overpayment
demands by the Program Safeguard Contractor, ZPIC, and other law enforcement
agencies by (a) making false statements and submitting or causing the submission
of falsified documentation; and (b) after the Program Safeguard Contractor or ZPIC
determined that 100% of the claims by Global Quality and Tri-County Physicians,
and 95% of the claims submitted by National Laboratories, were not eligible for
Medicare reimbursement, creating new companies, obtaining Medicare billing
privileges, and submitting or causing the submission of false and fraudulent claims

through these new companies, in some instances changing only the name of the

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company on the door to the medical practice and/or inventing new suite numbers to
conceal the continuation of the fraudulent practices at the same location.

52. MASHTYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO,
TARIQ OMAR, MOHAMMED ZAHOOR, and others submitted and caused the
submission of false and fraudulent claims through interstate wire to Medicare in an |
amount in excess of approximately $150 million for services and testing that were
obtained through illegal kickbacks and bribes, medically unnecessary, not eligible
for Medicare reimbursement, and/or not provided as represented.

53. .MASHTYAT RASHID would transfer the proceeds derived from the
conspiracy to live an extravagant lifestyle and spend millions of dollars on luxury
clothes from retailers like Hermes, rare Richard Mille watches, and exotic
automobiles such as a Lamborghini and Rolls Royce Ghost; a mansion and other
real estate in the Detroit, Michigan area: and to sit courtside or in the first row of

NBA basketball games, including the NBA Finals.

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COUNTS 2-5
(18 U.S.C. §§ 1347 and 2 — Health Care Fraud)

D-1 MASHITYAT RASHID

D-3 SPILIOS PAPPAS, MD

D-5 JOSEPH BETRO, DO

D-6 TARIQ OMAR, MD
D-7 MOHAMMED ZAHOOR, MD
54. Paragraphs 1 through 38 of the General Allegations section of this
Superseding Indictment are re-alleged and incorporated by reference as though fully
set forth herein. On or about the dates enumerated below, in Wayne County, the
Eastern District of Michigan, and elsewhere, MASHIYAT RASHID, SPILIOS
PAPPAS, TARIQ OMAR, and MOHAMMED ZAHOOR, in connection with the
delivery of and payment for health care benefits, items, and services, did knowingly
and willfully execute, and attempt to execute, a scheme and artifice to defraud a
health care benefit program affecting commerce, as defined in Title 18, United States
Code, Section 24(b), that is, Medicare, and to obtain, by means of materially false
and fraudulent pretenses, representations, and promises, money and property owned
by and under the custody and control of Medicare, in connection with the delivery
of and payment for health care benefits, items, and services.
Purpose of the Scheme and Artifice

55. It was the purpose of the scheme and artifice for MASHIYAT
RASHID, SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR, and

MOHAMMED ZAHOOR to unlawfully enrich themselves and their accomplices

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by, among other things: (a) submitting or causing the submission of false and
fraudulent claims to Medicare for claims based on kickbacks and bribes; (b)
submitting or causing the submission of false and fraudulent claims to Medicare for
services that were (i) medically unnecessary; (ii) not eligible for Medicare
reimbursement; and/or (iii) not provided as represented; (c) concealing the
submission of false and fraudulent claims to Medicare and the receipt and transfer

of the proceeds from the fraud; and (d) diverting proceeds of the fraud for the

 

personal use and benefit of the defendants and their accomplices.
The Scheme and Artifice
56. Paragraphs 41 through 53 of this Superseding Indictment are re-alleged
and incorporated by reference as though fully set forth herein as a description of the
scheme and artifice.
Acts in Execution of the Scheme and Artifice
57. On or about the dates specified below, in Wayne County, the Eastern
District of Michigan, and elsewhere, MASHIYAT RASHID, SPILIOS PAPPAS,
JOSEPH BETRO, TARIQ OMAR, and MOHAMMED ZAHOOR, in
connection with the delivery of and payment for health care benefits, items, and
services, did knowingly and willfully execute, and attempt to execute, the above-
described scheme and artifice to defraud a health care benefit program affecting

commerce, that is, Medicare, and to obtain, by means of materially false and

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fraudulent pretenses, representations, and promises, money and property owned by,

and under the custody and control of said health care benefit program:

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Approximate

 

 

 

 

 

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Defendant(s) BToe aria a Eom satire Billed to
Service ae
Medicare
2 Facet Joint
RASHID B.J. 12/17/2015 Injections $1,180.00
PAPPAS J
3
RASHID AP. 12/30/2015 | FacetJoint | gy 130.00
BETRO Injections
4 Facet Joint
RASHID C.W. 12/16/2014 Injections $850.00
OMAR J
> Facet Joint
RASHID T.S. 12/4/2014 Injecti $1,150.00
ZAHOOR nyjections

 

 

 

 

 

In violation of Title 18, United States Code, Sections 1347 and 2.

COUNT 6

(18 U.S.C. § 371—Conspiracy to Defraud the United States and Pay and
Receive Health Care Kickbacks)
D-1 MASHTYAT RASHID

58. Paragraphs 1 through 38 of the General Allegations section and

Paragraphs 41 to 53 of the Manner and Means section of Count 1 of this Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth

herein.

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59. From in or around December 2008, and continuing through in or around
the Present, the exact dates being unknown to the Grand Jury, in Wayne County, the
Eastern District of Michigan, and elsewhere, the defendant, MASHIYAT RASHID
and others did willfully, that is, with the intent to further the objects of the
conspiracy, and knowingly combine, conspire, confederate and agree with Yasser
Mozeb, Tasadaq Ali Ahmad, each other, and others known and unknown to the
Grand Jury:

a. to defraud the United States by impairing, impeding, obstructing, and
defeating through deceitful and dishonest means, the lawful government functions
of the United States Department of Health and Human Services in its administration
and oversight of the Medicare and Medicaid programs, in violation of Title 18,
United States Code, Section 371, and to commit certain offenses against the United
States, that is;

b. to violate Title 42, United States Code, Section 1320a-7b(b)(2)(A)-(B),
by knowingly and willfully offering and paying remuneration, including kickbacks
and bribes, directly and indirectly, overtly and covertly, in cash and in kind to any
person to induce such person: (i) to refer an individual to a person for the furnishing
and arranging for the furnishing of any item and service for which payment may be
made in whole and in part under a Federal health care program, that is, Medicare;

and (ii) to purchase, lease, order, or arrange for or recommend purchasing, leasing,

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or ordering any good, facility, service, or item for which payment may be made in
whole or in part under a Federal health care program, that is, Medicare; and

c. to violate Title 42, United States Code, Section 1320a-7b(b)(1)(A), by
knowingly and willfully soliciting and receiving remuneration, including kickbacks
and bribes, directly and indirectly, overtly and covertly, in cash and in kind: (i) in
return for referring an individual to a person for the furnishing and arranging for the
furnishing of an item and service for which payment may be made in whole and in
part under a federal health care program, that is, Medicare; or (ii) in return for
purchasing, leasing, ordering, or arranging for or recommending purchasing, leasing,
or ordering any good, facility, service, or item for which payment may be made in
whole or in part under a Federal health care program.

Purpose of the Conspiracy

60. It was a purpose of the conspiracy for MASHIYAT RASHID and his
co-conspirators, to unlawfully enrich themselves by: (1) offering, paying, soliciting,
and receiving kickbacks and bribes to ensure that (a) Medicare beneficiaries would
serve as patients in the Tri-County Network and in US Home, Senior Link, Vitality,
Laboratory 1, and other co-conspirator providers; (b) recruiters, physicians, and
others would order, or arranging for or recommend the ordering of services or testing
by Tri-County Network, Laboratory 1, and other co-conspirator providers; and (2)

submitting or causing the submission of claims to Medicare for medical items,

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testing, and services purportedly provided to these recruited beneficiaries.

Manner and Means

The manner and means by which the defendants and their co-conspirators
sought to accomplish the purpose of the conspiracy included, among others, the
following:

61. Paragraphs 41 to 53 of the Manner and Means section of Count 1 of .
this Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

Overt Acts
In furtherance of the conspiracy, and to accomplish its objects and purpose,
at least one of the co-conspirators committed and caused to be committed in Wayne
County, the Eastern District of Michigan, and elsewhere, at least one of the following
overt acts, among others:

62. MASHIYAT RASHID and others paid or caused the payment of
illegal kickbacks and bribes to (i) recruiters, physicians, and others to refer Medicare
beneficiaries to, or order testing by, the Tri-County Network; and (ii) Medicare
beneficiaries in exchange for visiting the Tri-County Network and/or providing
signatures on documents reflecting services purportedly performed by the Tri-
County Network.

63. MASHIYAT RASHID and others solicited illegal kickbacks and

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bribes from US Home, Vitality, Senior Link, Laboratory 1, and other providers for
SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR, MOHAMMED
ZAHOOR, Abdul Hag, and others to cause the referrals and/or ordering of testing
described above in Paragraph 46.

64. MASHIYAT RASHID, Yasser Mozeb, and others negotiated,
calculated, and/or reconciled payments for illegal kickbacks and bribes, including
by tracking referrals and exchanging spreadsheets by email with the owners,
managers, and employees of Laboratory 1 beginning in or around May 2012, and
with employees of US Home on or about May 6, 2014, July 8, 2015, and other dates.

65. On or about December 1, 2014, MASHIYAT RASHID caused Pro
Med Management, Inc., to cash check 1279, in the approximate amount of $5,310,
from Tri-County Wellness’s bank account ending in x9562.

66. On or about February 5, 2016, MASHITYAT RASHID caused check
number 17786 from US Home’s bank account, in the approximate amount of
$9,379.36, to be deposited into Tri-County Welliness’s bank account ending in
x4737.

All in violation of Title 18, United States Code, Section 371 and Title 18,

United States Code, Section 2.

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COUNT 7
(42 U.S.C. § 1320a-7b(b)(1)(A)) — Receipt of Kickbacks in Connection with a
Federal Health Care Program)
D-1 MASHITYAT RASHID

67. Paragraphs 1 through 38 of the General Allegations section and

Paragraphs 41 to 53 of the Manner and Means section of Count 1 of this Superseding

Indictment are re-alleged and incorporated by reference as though fully set forth
herein.

68. On or about the date set forth below, in Wayne County, the Eastern

District of Michigan, and elsewhere, MASHIYAT RASHID did knowingly and

willfully solicit and receive remuneration, including kickbacks and bribes, directly

and indirectly, overtly and covertly, in cash and in kind, including by check, as set

forth below, in return for referring an individual to a person for the furnishing and

arranging for the furnishing of any item and service for which payment may be made

in whole and in part under a federal health care program, that is, Medicare and

Medicaid, as set forth below:

Approximate
Date of Description
ea anicail

Count Approximate

Amount

Defendant

 

7 February 5 Check No.
RASHID TY>> | 17786 from $9,379.36
2016
US Home

 

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In violation of Title 42, United States Code, Section 1320a-7b(b)(1)(A) and
Title 18, United States Code, Section 2.
COUNT 8
(42 U.S.C. §§ 1320a-7b(b)(2)(A)-(B)) — Payment of Kickbacks in Connection
with a Federal Health Care Program)
D-1 MASHIYAT RASHID

69. Paragraphs 1 through 38 of the General Allegations section and
Paragraphs 41 to 53 of the Manner and Means section of Count 1 of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth
herein.

70. On or about the date set forth below, in Wayne County, the Eastern
District of Michigan, and elsewhere, MASHIYAT RASHID did knowingly and
willfully offer and pay remuneration, including kickbacks and bribes, directly and
indirectly, overtly and covertly, in cash and in kind, including by check, as set forth
below, to any person to induce such person: (a) to refer an individual to a person for
the furnishing and arranging for the furnishing of any item and service for which
payment may be made in whole and in part under a Federal health care program, that
is, Medicare; and (b) to purchase, lease, order, and arrange for and recommend
purchasing, leasing, and ordering any good, facility, service and item for which

payment may be made in whole or in part under a Federal health care program, that

is, Medicare, as set forth below:

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Approximate

 

re in DPN Core) | Description Approximate
Defendant WTO’
Maia
Check No.
8 December 1 1279 from Tri
RASHID 2014 ° County $5,310.00
Wellness bank
account x9562 |

 

In violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A)-(B)

and Title 18, United States Code, Section 2.
COUNTS 9 - 10
(18 U.S.C. §§ 1957 and 2—Money Laundering)
D-1 MASHITYAT RASHID

71. On or about the date set forth below, in Wayne County, the Eastern
District of Michigan, and elsewhere, MASHIYAT RASHID, did knowingly engage
and attempt to engage in the following monetary transactions by through or to a
financial institution, affecting interstate or foreign commerce, in criminally derived
property of a value greater than $10,000, that is, the payment of funds, such property
having been derived from a specified unlawful activity, that is, health care fraud.
TRANSACTION
$6,600,000 wire
transfer to account

x4026

10 MASHIYAT RASHID July 10, 2017 $500,000 cash
withdrawal from
account x8653

    

COUNT DEFENDANT
MASHIYAT RASHID

   

    

   

April 13, 2016

 

 

 

 

 

 

 

In violation of Title 18, United States Codes, Sections 1957 and 2.

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FORFEITURE ALLEGATIONS
(18 U.S.C. § 981(a)(1)(C©) and 28 U.S.C. § 2461; 18 U.S.C. §§982(a)(1) and (7) —
Criminal Forfeiture)

72. The allegations contained in Count 1-9 of this Superseding Indictment
are re-alleged and incorporated by reference as though fully set forth herein for the
purpose of alleging forfeiture against defendants MASHIYAT RASHID, SPILIOS
PAPPAS, JOSEPH BETRO, TARIQ OMAR, and MOHAMMED ZAHOOR
pursuant to Title 18, United States Code, Sections 981 and 982, and Title 28, United
States Code, Section 2461.

73. Pursuant to Title 18, United States Code, Section 981(a)(1)(C), together
with Title 28, United States Code, Section 2461, upon being convicted of the crime
charged in Count 1 of this Superseding Indictment, the convicted defendant(s) shall
forfeit to the United States any.property, real or personal, which constitutes or is
derived from proceeds traceable to the commission of the offense.

74. Pursuant to Title 18, United States Code, Section 982(a)(7), upon being
convicted of the crimes charged in Counts 1 through 7 of this Superseding
Indictment, the convicted defendant(s) shall forfeit to the United States any property,

real or personal, that constitutes or is derived, directly or indirectly, from gross

proceeds traceable to the commission of the offense.

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75. Pursuant to Title 18, United States Code, Section 982(a)(1), upon being
convicted of the crime charged in Counts 8-9 of this Superseding Indictment, the
convicted defendant shall forfeit to the United States any property, real or personal,

| involved in the offense, or any property traceable to such property.

16. Money Judgment: Property subject to forfeiture includes, but is not
limited to a forfeiture money judgment equal to:

a. At least $150,000,000 in United States currency, in the aggregate, or
such amount as is proved in this matter, representing the total amount of proceeds
and/or gross proceeds obtained as a result of each defendants’ violations as alleged
in Counts 1-7 of this Superseding Indictment;

b. At least $6,600,000.00 in United States currency, or such amount as is
proved in this matter, representing the total amount involved in, or traceable to the
amount involved in, the defendant’s violation as alleged in Count 8 of this
Superseding Indictment.

Cc. At least $500,000.00 in United States currency, or such amount as is
proved in this matter, representing the total amount involved in, or traceable to the
amount involved in, the defendant’s violation as alleged in Count 9 of this

Superseding Indictment.

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77. Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be
subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p) as incorporated by Title 18, United States Code, Section 982(b) and/or Title
28, United States Code, Section 2461, to seek to forfeit any other property of
MASHIYAT RASHID, SPILIOS PAPPAS, JOSEPH BETRO, TARIQ OMAR,
and MOHAMMED ZAHOOR up to the value of such property.
THIS IS A TRUE BILL.

s/GRAND JURY FOREPERSON
Grand Jury Foreperson

MATTHEW SCHNEIDER
United States Attorney

s/WAYNE F. PRATT

WAYNE F. PRATT

Chief, Health Care Fraud Unit
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Michigan 48226

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(313) 226-2548
wayne.pratt@usdoi.gov

s/ALLAN MEDINA

ALLAN MEDINA

Assistant Chief

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s/JACOB FOSTER

JACOB FOSTER

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jacob. foster@usdoj.gov

Date: June 5, 2018

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United States District Court Criminal Case Cover Sheet Case Number
Eastern District of Michigan 17-cr-20465 i
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects. aS oy
oz
7 | Companion Case Number: Qe |
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned: = a
ai
os
Ll ves No AUSA’s Initials: JF = |

 

 

Case Title: USA v. Mashiyat Rashid, et al

County where offense occurred : Oakland County, Wayne County

Check One: [X]Felony [_]Misdemeanor [Petty
Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
¥_|ndictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

Superseding to Case No: 17-cr-20465 Judge: Hon. Denise Page Hood

[_]Corrects errors; no additional charges or defendants.
[ Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

 

Defendant name Charges Prior Complaint (if applicable)
Mashiyat Rashid 18 U.S.C. § 1957 and 2

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case. fi
June 5, 2018 an :

Date
(:2cop/ Foster: Attorney
est Fort Street, Detroit, Ml 48226
Phone: (202) 615 - 6521
Fax: (313) 226 - 0816
E-Mail address: Jacob.Foster@usdoj.gov

Attorney Bar #: CA 250785

 

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

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